Name Case
      & Address:
            2:17-cv-04983-TJH-KS Document 47 Filed 12/10/18 Page 1 of 1 Page ID #:765
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
INTERWORKS UNLIMITED, INC., a California                       CASE NUMBER:
corporation                                                                   2:17-cv-4983 TJH KSx)
                                                PLAINTIFF(S)
                    v.
DIGITAL GADGETS, LLC., a New Jersey limitied
liability company                                                      NOTICE OF MANUAL FILING
                                             DEFENDANT(S).

PLEASE TAKE NOTICE:

          Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually filed (LIST DOCUMENTS):

Plaintiff's Application for Order to File Under Seal; [Proposed] Order;



          Document Description:
                  Administrative Record
              ✔   Exhibits
                  Ex Parte Application for authorization of investigative, expert, or other services pursuant to the
                  Criminal Justice Act [see Local Rule 5.2-2.2(8), Local Criminal Rule 49.1-2(8)]
              ✔   Other Declaration of Harlan M. Lazarus in Support of Opposition to Motion for Summary
                        Judgment, and Confidential Exhibits attached thereto

          Reason:
              ✔   Under Seal
                  Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
                  Electronic versions are not available to filer
                  Per Court order dated
              ✔   Manual Filing required ( reason ):
                  Document designated as Confidential

December 10, 2018                                                  HARLAN M. LAZARUS
Date                                                               Attorney Name
                                                                   DIGITAL GADGETS, LLC
                                                                   Party Represented
Note: File one Notice of Manual Filing in each case, each time you manually file document(s).
G-92 (6/12)                                      NOTICE OF MANUAL FILING
